       Case 5:12-cr-50008-TLB                     Document 395                   Filed 08/08/16           Page 1 of 1 PageID #: 1976


AO 247 (Rev. I Ill I) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)        Page I of2 (Page 2 Not for Public Disclosure)


                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Western District of Arkansas

                    United States of America
                               v.                                            )

                    JOSE MEJIA-MACHADO
                                                                             j Case No: 5: 12CR50008-002
                                                                             )    USM No:1_5_8_7_9-_3_0 8_ _ _ __ _ __ _ __ _
Date of Original Judgment:                  11/26/2012                       )
Date of Previous Amended Judgment: _ _ _ _ _ __                              )    Chad L. Atwell
(Use Date of Last Amended Judgm ent !f Any)                                       Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of           D
                              the defendant             D
                                                  the Director of the Bureau of Prisons 12] the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §I BI. I 0
and the sentencing factors set forth in 18 U.S .C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         0DENIED.               Ii] GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issueclj of      84                                    months is reduced to            67 months
                                                                                                         -----------~


                                              (Complete Parts I and 11 of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated
IT IS SO ORDE,            D.         1
Order Date:          j\lf~t'

Effective Date:                                                            Honorable Timothy L. Brooks, United States District Judge
                     (if different.from order date)                                                  Printed name and title
